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15                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16

17
       BEHZAD FERDOWS;                MEHRZAD Case No.: 2:20-cv-10156-DMG-MAAx
18     FERDOWS,
19                   Plaintiffs,                  JOINT    STIPULATION OF
20                                                DISMISSAL OF ALL CLAIMS,
       vs.                                        CAUSES OF ACTIONS AND
21
                                                  PARTIES
22     UNITED STATES DEPARTMENT OF
       THE TREASURY, OFFICE OF
23
       FOREIGN       ASSETS        CONTROL;
24     ANDREA M. GACKI, Director of
       OFAC, in her official capacity,
25

26                   Defendants.
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28     ///

                                   JOINT STIPULATION OF DISMISSAL
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     Case 2:20-cv-10156-DMG-MAA Document 28 Filed 05/24/21 Page 2 of 2 Page ID #:120



1            TO THE COURT AND ALL PARTIES:
2
             Plaintiffs Behzad Ferdows and Mehrzad Ferdows and Defendants Office of
3
       Foreign Assets Control and Bradley T. Smith, in his official capacity as Acting
4

5      Director of the Office of Foreign Assets Control, hereby stipulate under Federal Rule
6      of Civil Procedure 41 subd. (a)(1)(A)(ii) that this action be dismissed as to all claims,
7
       causes of action, and parties.
8

9
       DATED: May 24, 2021                            SCHNEBERG LAW PC
10                                                    FERRARI & ASSOCIATES
11

12
                                                       /s/
                                                      KYLE P. SCHNEBERG and
13
                                                      ERIC C. FERRARI
14                                                    Attorneys for Plaintiffs
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16
       DATED: May 24, 2021                            BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General,
17
                                                      Civil Division
18                                                    BRIGHAM BOWEN
19                                                    Assistant Branch Director
20                                                    Civ. Division, Fed. Programs Branch
21
                                                       /s/ Stuart J. Robinson
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                                                      STUART J. ROBINSON
23                                                    Senior Counsel
24                                                    Attorneys for Defendants
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                                JOINT STIPULATION OF DISMISSAL
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